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 1                                                                                               Hon. Brian A Tsuchida
 2

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 4

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 7

 8                                 UNITED STATES DISTRICT COURT FOR THE
                                     WESTERN DISTRICT OF WASHINGTON
 9                                             AT TACOMA
10 Brian Holm, et al.,                                               CASE NO. 3:23-cv-05177-BAT
11                                         Plaintiffs,
12                                v.                                 ANSWER
13 Federal Bureau of Investigation, et al.,

14                                         Defendants.
15
                Defendant Department of Justice 1 (DOJ) respectfully submits the following answer to the
16

17 complaint filed on March 6, 2023, by Plaintiffs Brian Nordbjerg Holm and Kristin Chapin Holm

18 in this Freedom of Information Act (FOIA) action, as follows:

19                                                       RESPONSES
20
                Defendant responds to the separately numbered paragraphs and prayer for relief contained
21
     in the Complaint below. To the extent that any allegation is not admitted herein, it is denied.
22

23 Moreover, to the extent that the Complaint refers to or quotes from external documents, statutes,

24 or other sources, Defendant may refer to such materials for their accurate and complete contents;

25

26

27   1
                The proper party to this action is the Department of Justice, of which the Federal Bureau of Investigation is
     a part.

         ANSWER                                                                           UNITED STATES ATTORNEY
         3:23-cv-05177-BAT- 1                                                             700 STEWART STREET, SUITE 5220
                                                                                           SEATTLE, WASHINGTON 98101
                                                                                                  (206) 553-7970
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 1 however, such references are not intended to be, and should not be construed to be, an admission

 2
     that the cited materials: (a) are correctly cited or quoted by Plaintiffs; (b) are relevant to this, or
 3
     any other, action; or (c) are admissible in this, or any other, action.
 4
                The first, unnumbered paragraph of the Complaint consists of Plaintiffs’ characterization
 5

 6 of this action, to which no response is required.

 7
                                                  I.       INTRODUCTION 2
 8
            1. Defendant admits that Plaintiffs submitted FOIA requests to Defendant in May 2022
 9
     (FOIPA Request No. 1544339-000), in July 2022 (FOIPA Request No. 1553381-000), and August
10
     2022 (FOIPA Request No. 1555217-000). Defendant respectfully refers the Court to the cited
11
     requests for a full and accurate statement of their contents.
12
            2. Defendant admits that it has acknowledged the receipt of Plaintiffs’ FOIA request, and that
13
     it has not finished processing records responsive to the request. The remainder of this paragraph
14
     consists of conclusions of law to which no response is required. To the extent a response is
15
     required, denied.
16
            3. This paragraph contains Plaintiffs’ characterization of the FOIA and conclusions of law, to
17
     which no response is required. Defendant respectfully refers the Court to the cited caselaw for a
18
     full and accurate statement of its contents.
19
            4. Defendant admits that the original estimated timeframe for processing Plaintiffs’ FOIA
20
     request was 67 months, which is due to the processing backlog as well as the complex nature of
21
     the media records at issue in this case, which take longer to process than paper records. The
22
     remainder of this paragraph contains Plaintiffs’ characterization of the FOIA and conclusions of
23
     law, to which no response is required. Defendant respectfully refers the Court to the cited caselaw
24
     for a full and accurate statement of its contents.
25
            5. This paragraph contains Plaintiffs’ conclusions of law and request for relief, to which no
26

27   2
               For ease of reference, Defendant refers to Plaintiffs’ headings and titles, but to the extent those headings and
     titles could be construed to contain factual allegations, those allegations are denied.

         ANSWER                                                                            UNITED STATES ATTORNEY
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 1
     response is required. To the extent a response is deemed required, Defendant denies that Plaintiffs
 2
     are entitled to the requested relief, or to any relief whatsoever.
 3
                                                    II.     PARTIES
 4
         6. Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
 5
     allegations in paragraph 6.
 6
         7. Defendant denies that the FBI is an agency within the meaning of 5 U.S.C. § 552(f)(1), but
 7
     admits that the FBI is a component of DOJ, which is subject to the requirements of the FOIA. The
 8
     remainder of this paragraph consists of conclusions of law to which no response is required. To
 9
     the extent a response is required, denied.
10
         8. As to the first sentence in this paragraph, Defendant admits. The remainder of this
11
     paragraph consists of conclusions of law to which no response is required. To the extent a response
12
     is required, denied.
13
                                             III.         JURISDICTION
14
         9. This paragraph consists of conclusions of law to which no response is required.
15
                                                     IV.     VENUE
16
         10. This paragraph consists of conclusions of law to which no response is required.
17
                                                     V.      FACTS
18
         11. Defendant admits that Plaintiffs submitted FOIA requests to Defendant in May 2022
19
     (FOIPA Request No. 1544339-000), in July 2022 (FOIPA Request No. 1553381-000) and August
20
     2022 (FOIPA Request No. 1555217-000). Defendant respectfully refers the Court to the cited
21
     requests for a full and accurate statement of its contents. The remainder of this paragraph consists
22
     of Plaintiffs’ characterization of factual allegations unrelated to Plaintiffs’ legal claims under
23
     FOIA, to which no response is required.
24
         12. Defendant admits that it received three requests from Plaintiffs, all of which sought the
25
     same information. Plaintiffs were advised that the first two requests (FOIPA Request No.
26
     1544339-000 and FOIPA Request No. 1553381-000) were closed because they did not contain
27

      ANSWER                                                               UNITED STATES ATTORNEY
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 1
     sufficient information to conduct an accurate search of the Central Records System or a privacy
 2
     waiver to process the records. See May 2022 and July 2022 Acknowledgment letters. In response,
 3
     Plaintiffs submitted the requested information in August 2022. Based on the additional information
 4
     provided, by letter dated August 5, 2022, Defendant advised Plaintiffs that they had received the
 5
     request and had assigned it FOIPA Request No. 1555217-000. Defendant respectfully refers the
 6
     Court to the cited letters for a full and accurate statement of its contents.
 7
         13. Admit.
 8
         14. Admit.
 9
         15. Admit.
10
         16. Admit.
11
         17. Defendant admits that it has not finished processing records responsive to the Plaintiffs’
12
     request.
13
                                         VI.     CLAIMS FOR RELIEF
14
                                Violation of Freedom of Information Act (FOIA)
15
                                   For Failure to Disclose Responsive Records
16
         18. Defendant incorporates by reference its responses to all preceding paragraphs.
17
         19. This paragraph contains Plaintiffs’ conclusions of law, to which no response is required.
18
     To the extent a response is deemed required, Defendant denies the allegations.
19
         20. This paragraph contains Plaintiffs’ conclusions of law, to which no response is required.
20
     To the extent a response is deemed required, Defendant denies the allegations.
21
         21. This paragraph contains Plaintiffs’ conclusions of law, to which no response is required.
22
     To the extent a response is deemed required, Defendant denies the allegations.
23
         22. This paragraph contains Plaintiffs’ conclusions of law and request for relief, to which no
24
     response is required. To the extent a response is deemed required, Defendant denies that Plaintiffs
25
     are entitled to the requested relief, or to any relief whatsoever.
26
         23. This paragraph contains Plaintiffs’ conclusions of law and request for relief, to which no
27

      ANSWER                                                                  UNITED STATES ATTORNEY
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 1
     response is required. To the extent a response is deemed required, Defendant denies that Plaintiffs
 2
     are entitled to the requested relief, or to any relief whatsoever.
 3
                                        VII.    PRAYER FOR RELIEF
 4
             The remainder of the complaint contains Plaintiffs’ request for relief, to which no response
 5
     is required. To the extent a response is deemed required, Defendant denies that Plaintiffs are
 6
     entitled to the requested relief, or to any relief whatsoever.
 7
                              DENIAL OF ANY CLAIM NOT ADMITTED
 8

 9           To the extent that any claim in Plaintiffs’ Complaint is not specifically admitted herein, it

10 is expressly denied. Fed. R. Civ. P. 8(b)(3).
                             AFFIRMATIVE AND OTHER DEFENSES
11

12           Defendant alleges the following affirmative defenses to the Complaint. In asserting these

13 defenses, Defendant does not assume the burden to establish any fact or proposition where that

14 burden is properly imposed upon Plaintiffs.

15
                                                 First Defense
16
             Plaintiffs’ Complaint fails to state a claim for which relief can be granted, as Defendant
17
     has not unlawfully withheld any records within the meaning of the FOIA, 5 U.S.C. § 522 or the
18
     Privacy Act, 5 U.S.C. § 522a.
19

20                                             Second Defense

21           The information that Defendant has withheld, or will withhold, in response to Plaintiffs’
22 FOIA requests may be exempt in whole or in part from public disclosure under FOIA, 5 U.S.C. §

23
     552(b) or the Privacy Act, 5 U.S.C. § 522a.
24

25

26

27

      ANSWER                                                                UNITED STATES ATTORNEY
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 1                                               Third Defense
 2
             Defendant has exercised due diligence in processing Plaintiffs’ FOIA request, and
 3
     exceptional circumstances exist that necessitate additional time for Defendant to complete
 4
     processing of the Plaintiffs’ FOIA requests. See 5 U.S.C. § 552(a)(6)(C).
 5

 6                                              Fourth Defense

 7           Plaintiffs are not entitled to compel production of records exempt from disclosure by one

 8 or more exemptions to the FOIA, 5 U.S.C. § 552.

 9                                               Fifth Defense
10
             Plaintiffs are not entitled to attorneys’ fees and costs.
11
             Defendant respectfully requests and reserves the right to amend, alter, and supplement the
12
     defenses contained in this answer as the facts and circumstances giving rise to the Complaint
13

14 become known to it through the course of litigation.

15
     DATED April 10, 2023.
16

17                                                   Respectfully submitted,

18                                                   NICHOLAS W. BROWN
                                                     United States Attorney
19

20                                                   s/ Annalisa L. Cravens
                                                     ANNALISA L. CRAVENS, TX Bar #24092298
21                                                   Assistant United States Attorney
                                                     United States Attorney’s Office
22                                                   Western District of Washington
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                                                     Seattle, Washington 98101
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25                                                   E-mail: annalisa.cravens@usdoj.gov
26

27

      ANSWER                                                                   UNITED STATES ATTORNEY
      3:23-cv-05177-BAT- 6                                                     700 STEWART STREET, SUITE 5220
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